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              Attorneys for Defendants and Counterclaim Plaintiffs

                                           UNITED STATES DISTRICT COURT
                                                   DISTRICT OF NEVADA

              SWITCH, LTD., a Nevada corporation,               Case No. 2:19-cv-00631-GMN-NJK

                                      Plaintiff-Counterclaim    STIPULATION OF DISMISSAL WITH
                                      Defendant,                PREJUDICE

              vs.

              UPTIME INSTITUTE, LLC, a Delaware
              limited liability company; and UPTIME
              INSTITUTE PROFESSIONAL SERVICES,
              LLC, a Delaware limited liability company,

                                      Defendants-
                                      Counterclaim
                                      Plaintiffs.



                     Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, it is hereby

            stipulated and agreed by and between the parties as follows:

                     (1)     Plaintiff Switch’s claims and causes of action in the above-captioned cases are

            voluntarily dismissed WITH prejudice;
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                     (2)     The counterclaims and causes of action of Defendants Uptime Institute, LLC and

            Uptime Institute Professional Services, LLC in the above-captioned case are voluntarily dismissed

            WITH prejudice; and

                     (3)     Each party is to bear its own expenses, attorneys’ fees and costs.
                                               14 day of ______,
                     IT IS SO STIPULATED this ____        May 2020.

           DECHERT LLP                                         SWITCH, LTD.


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           Attorneys for Defendants Uptime Institute,
           LLC and Uptime Institute Professional
           Services, LLC
           IT IS SO ORDERED.
           Dated this 14
                      __ day of May, 2020.
                                                                   __________________________________
                                                                   Gloria M. Navarro, District Judge
                                                                   United States District Court
